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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


STEVE MARTINKO,
     an individual,

CONTENDER’S TREE AND LAWN SPECIALISTS, INC.,
    a Michigan Corporation,

MICHAEL LACKOMAR,                                               Case: 2:20-cv-10931-BAF-MJH
     an individual,
                                                                Hon. Bernard A. Friedman
WENDY LACKOMAR,                                                 U.S. District Judge
    an individual,
                                                                Hon. Michael J. Hluchaniuk
and                                                             U.S. Magistrate Judge

JERRY FROST,
     an individual,

               Plaintiffs,

v.

GRETCHEN WHITMER, in her official capacity as
Governor of the State of Michigan,

               Defendant.

__________________________________________/
                            ORDER OF DISMISSAL

       Having reviewed Plaintiff, Jerry Frost’s Notice of Voluntary Dismissal,

       IT IS HEREBY ORDERED that Plaintiff Jerry Frost is hereby dismissed from the above

cause of action without prejudice and without costs.

       This order does not close the case and does not resolve all pending claims.


                                                       ___________________________________
                                                       Hon. Bernard A. Friedman
                                                       United States District Judge
